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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  ADRIANA CONDOR CORDERO,

                                    Plaintiff,                        JUDGMENT
         v.                                                           22-cv-7612-DG-VMS

  HARRY ADJMI and ALICE ADJMI,

                                     Defendants.
  ---------------------------------------------------------------X
          A notice of acceptance of a Rule 68 Offer of Judgment having been filed on March 28,

 2023; and defendants Harry Adjmi and Alice Adjmi, having offered to allow entry of judgment

 to be taken against Alice Adjmi and in favor of Plaintiff Adriana Condor Cordero in the total

 sum Thirty-Six Thousand Five Hundred Dollars and Zero Cents ($36,500.00), in full and final

 settlement of all of Plaintiff's claims against Defendants Harry Adjmi and Alice Adjmi for

 unpaid wages, liquidated damages, statutory damages, pre-judgment interest, and all other claims

 arising out of or related to the facts and transactions alleged or that could have been alleged in

 the above-captioned action; it is

         ORDERED and ADJUDGED that judgment is entered in favor of Plaintiff Adriana

 Condor Cordero and against defendant Alice Adjmi in the total sum Thirty-Six Thousand Five

 Hundred Dollars and Zero Cents ($36,500.00), in full and final settlement of all of Plaintiff's

 claims against Defendants Harry Adjmi and Alice Adjmi for unpaid wages, liquidated damages,

 statutory damages, pre-judgment interest, and all other claims arising out of or related to the facts

 and transactions alleged or that could have been alleged in the above-captioned action.

 Dated: Brooklyn, New York                                            Brenna B. Mahoney
        April 5, 2023                                                 Clerk of Court

                                                                By:    /s/Jalitza Poveda
                                                                       Deputy Clerk
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